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AO 108 (Rev. 01/09) Application for a Warrant to Seize Personal Property Subject to Civil Forfeiture

 

UNITED STATES DISTRICT COURT
for the
District of Colorado

In the Matter of the Seizure of ) 1 1 M C OY 0 2 4 #Nb
(Briefly describe the property to be seized) ) = x
Up to $158,934.00 held in the name of Dianna Shull Case No.
at TCF National Bank Account # 2857232333

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APPLICATION FOR A WARRANT
TO SEIZE PERSONAL PROPERTY SUBJECT TO CIVIL FORFEITURE

I, a federal law enforcement officer or attorney for the government, request a seizure warrant and state under
penalty of perjury that I have reason to believe that the following property in the District of

Colorado is subject to forfeiture to the United States of America under 31 U.S.C. §

 

5317 (describe the property):
Up to $158,934.00 held in the name of Dianna at TCF National Bank Account # 2857232333

The application is based on these facts:

The facts to support a finding of Probable Cause for issuance of a Seizure Warrant are set forth in the attached affidavit
which is continued on the attached sheet and made a part hereof.

wo Continued on the attached sheet.

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“Applicant’ Ss 5 signature

Matthew fecth, Spor ./ Agen}

Printed name and title

Sworn to before me and signed in my presence.

Date: Lipyrd. jh LOI [AM [Aerlorre_

Judge's signature

City and state: boomer , lo (oracke Pooyd N. Ao larnrd
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Affidavit in Support of Application for Seizure Warrant
|, Matthew Garth, after being duly sworn, depose and state as follows:

1. | have been employed as a Special Agent with Internal Revenue Service
Criminal Investigation (IRS-CI) since March 2005. My duties and responsibilities
include the investigation of possible criminal violations of the Internal Revenue Code
(Title 26 United States Code) and related offenses. | received a Bachelors of Science in
Business Administration with a major in both Accounting and Finance and a Master of
Accountancy with a concentration in tax from the University of Tennessee in Knoxville.
| am also a Certified Public Accountant (CPA), a Certified Fraud Examiner (CFE) and
attended six months of training at the Federal Law Enforcement Training Center
(FLETC) in Glynco, Georgia. At FLETC, | studied criminal law, financial crimes, tax law,
and enforcement operations. Over the past five years, | have conducted or assisted in
the investigation of numerous suspected violations of financial fraud, criminal tax fraud,
and currency and/or money laundering statutes (Titles 18, 26, and 31, United States
Code). | have also participated in the execution of search warrants for financial records
as part of these investigations.

2. This affidavit supports application for a seizure warrant for all monies and
other things of value up to $387,501.72 contained in subject account number
9867610233 in the name of Dianna & James Shull and $158,934.00 contained in
subject account number 2857232333 in the name of Dianna Shull; both accounts are
located at TCF National Bank. Probable cause exists to believe that such monies are
subject to seizure and forfeiture to the United States pursuant to Title 31 U.S.C. § 5317,
on the grounds that they constitute property involved in, or traceable to, or identical to
deposits structured to avoid currency reporting requirements, in violation of Title 31
U.S.C. § 5324(a).

Currency Transaction Reports and Structuring

3. Title 31 U.S.C. § 5313 and 31 C.F.R. Part 103 of the Bank Secrecy Act
(BSA) requires any financial institution that engages with a customer in a currency
transaction (i.e. a deposit or withdrawal) in excess of $10,000.00 to report that
transaction to the Internal Revenue Service on Form 104, Currency Transaction Report
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(CTR). These regulations also require that multiple transactions be treated as a single
transaction if the financial institution has knowledge that they are conducted by, or on
behalf of, the same person, and they result in either currency received or disbursed by
the financial institution totaling more than $10,000.00 during any one business day.

4. CTRs are often used by law enforcement to uncover a wide variety of
illegal activities including tax evasion and money laundering. Many individuals involved
in these illegal activities are aware of such reporting requirements and take active steps
to cause financial institutions to fail to file CTRs. The active steps are referred to as
‘Structuring’ or“smurfing’ and involve making multiple cash deposits, in amounts less than
$10,000.00, to multiple banks and/or branches of the same bank on the same day or
consecutive days or within a few days of each other. Structuring is prohibited by Title
31 U.S.C. § 5324(a)(3).

5. In this particular situation, the government does not have any specific
knowledge that the source of the structured money is from an illegal source or that the
structuring occurred to conceal a tax crime.

6. Based on my training and experience, | also know that when individuals
routinely make cash deposits around $9,000 within a short period of time, they often are
breaking a larger amount of money into separate deposits of amounts of less than
$10,000.00 to avoid triggering the filing of a CTR. When they do this, they are engaging
in structuring. Based on the facts of this case, in light of my training and experience, |
believe that authorized signors Dianna & James Shull did not deposit all the cash
available to them into their savings account when they actually acquired the cash and
Dianna Shull did not deposit all the cash available to her into her checking account
when she actually acquired the cash. Rather, it appears that lump sums of cash were
acquired, and then structured into the subject accounts in amounts of $10,000.00 or
less so that it would not trigger the filing of a CTR.

James & Dianna Shull Employment

7. Dianna Shull (‘Shull) is the owner of a daycare that is run out of her home
located at 10841 Albion Court in Thornton, CO. According to the Colorado Department
of Human Services Division of Child Care Licensing System Report on file, the daycare
that Shull runs has a capacity of six children. There is also one employee listed as
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working for the Shull daycare but there was no withholding or income information
reported to the State of Colorado on the one possible employee.

8. James Shull is a maintenance supervisor and his salary appears to be
deposited directly into joint checking account number 9867610233 at TCF Bank. Aside
from the job James Shull has as a maintenance supervisor and the daycare that Dianna
Shull runs, there is no other known occupation or source of income for James and
Dianna Shull.

9. At this time, there is no known source of the large cash deposits but it is
highly unlikely that the $546,435.72 deposited in cash between January 5, 2009, and
July 29, 2010, was income derived solely from James Shulls known income and a
daycare that can care for a maximum of six children. In addition, during this same time
period, the Shulls purchased four properties for a total of $531,601.00. All four
properties were purchased outright without a loan.

10. | While the Government is only seeking a seizure warrant for the amount of
money it believes was structured into the Shulls accounts during the January 2009
through July 2010 time period, it has credible information which indicates that the Shulls
have been structuring cash into various bank accounts since as early as 2006.

Between 2006 and January 2009, the Shulls purchased an additional nine properties for
a total of $1,057,925.00. All nine properties were purchased outright without a loan.

11. In support of the allegation that the Shulls were purchasing property with
proceeds of structured money, the government has traced several wires from joint
savings account 9867610233 located at TCF National Bank. A sampling, and not an
exhaustive list, of the traced withdrawals is listed below:

e On October 1, 2008, an official bank check was purchased in the amount of
$126,896.65. The memo on the check stated it was for 4950 East 110" Avenue

and the check was deposited into the account of 1** Denver Title Incorporated. A

public records check revealed that Dianna and James Shull purchased 4950

East 110 Avenue in Thornton, CO on October 1, 2008 for $134,000.

e On September 17, 2009, a $128,800.47 wire was sent to A1 Title & Escrow in

Chattanooga, TN. A public records check revealed that Dianna and James Shull
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purchased 4322 Katykim Lane in Ooltewah, TN on September 17, 2009 for

$128,101.

e June 29, 2010, a $131,641.56 wire was sent to Heritage Title Company in
Westminster, CO. A public records check revealed that Dianna and James Shull
purchased 10961 Birch Drive in Denver, CO on June 30, 2010 for $142,000.

12. In sum, the large number of cash deposits, and the amounts of these
deposits, in addition to the purchase of numerous homes outright with no loans is
inconsistent with the Shulfs known income.

Shull Bank Accounts

13. Account 9867610233 is a joint savings account in the names of Dianna
and James Shull that was opened at TCF Bank on May 16, 2005.

14. Account 2857232333 is a checking account with Dianna Shull listed as the
sole owner and signatory on the account. Shull opened this account, which is also
located at TCF Bank, on May 15, 2008.

15. From January 5, 2009, through July 29, 2010, cash deposits into Shulfs
bank accounts at TCF National Bank have been near but not over the $10,000.00 cash
threshold. Between January 5, 2009, and July 29, 2010, there were a total of 132 cash
deposits into TCF National Bank account numbers 9867610233 and 2857232333, fora
total cash deposit of $719,150.72. Of the 132 currency deposits into account numbers
9867610233 and 2857232333, 69 deposits appear to be structured in amounts less
than $10,000.01 in 9867610233 and 26 deposits appear to be structured in amounts
less than $10,000.01 into account 2857232333. When combined, the 69 structured
transactions totaled $387,501.72 and the 26 structured transactions totaled
$158,934.00.

16. From April 7, 2006, through July 29, 2010, nine CTRs were filed for
deposits into TCF Bank relating to account numbers 9867610233 and 2857232333. All
of the CTRs filed are noted as ‘multiple transaction” A‘multiple transaction’ CTR usually
means that more than one cash deposit has been made into the same account during
the banks business day, which when aggregated exceeded the $10,000.00 threshold.
These are usually identified through the banks computer software at the end of the day
and the customer is unaware that a CTR has been filed. Making multiple deposits in
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one day into the same account or different accounts where each deposit is under
$10,000 but the total daily deposit is over $10,000 is often an attempt by the subject to
cause the bank to avoid filing a CTR.

17. It appears that Dianna Shull has consistently structured currency deposits
into TCF National Bank account numbers 9867610233 and 2857232333 since at least
January 2009.

18. As demonstrated by Exhibit 1, attached to this affidavit, the pattern of
deposits for Dianna Shull has been to make multiple cash deposits on the same day, on
consecutive days, or within a few days of each other. This gives the appearance that
more than $10,000.01 in cash was available to deposit and was held back or conducted :
into separate accounts in order to avoid the CTR reporting requirements. As such,
these transactions constitute structuring. A complete list of structured transactions is
attached as Exhibit 1.

19. In total, between January 5, 2009 and July 29, 2010, Dianna Shull
structured $387,501.72 into bank account number 9867610233 and $158,934.00 into
bank account number 2857232333; both accounts are located at TCF National Bank.

20. As of March 31, 2011, your affiant is aware that the current balance for
TCF National Bank account number 9867610233 is approximately $230,498.29 and the
current balance for TCF National Bank account number 2857232333 is approximately
$12,129.96.

Conclusion

21. Title 31, United States Code, section 5317(c)(2) provides for the civil
forfeiture of any property involved in a structuring violation of Title 31, United States
Code, 5324 in accordance with the procedures governing civil forfeitures pursuant to
Title 18, United States Code, Section 981(b).

22. Further, 18 U.S.C. Section 984 provides that the government need not
identify the specific property involved in and offense that is the basis for the forfeiture if
the property involved is funds deposited into a financial account when the forfeitable
funds were placed into that account within the prior year.

23. In light of the above, there is probable cause to believe that all monies and
other things of value contained in account number 9867610233 at TCF National Bank
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up to $387,501.72 and in account number 2857232333 also at TCF National Bank up to
$158,934.00 constitute property involved in or traceable to violations of Title 31 U.S.C.
§ 5324 and, as such, are subject to seizure and forfeiture pursuant to Title 31 U.S.C.
§ 5317.

24. Therefore, | request the issuance of seizure warrants based on the
forfeiture provisions of Title 31 U.S.C. § 5317 pursuant to Title 18, United States Code,
Section 981(b).

FURTHER THIS AFFIANT SAYETH NOT. g
Matthew Garth <

Special Agent, IRS-CI

“Tt.
Subscribed and sworn before me this _[| MW day of April, 2011.

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UNITEDYSTATES MAGISTRATE JUDGE
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Exhibit 1

Dianna Shull

Date Branch Teller 9867610233 2857232333 Structured Amt
Monday, January 05, 2009 9867610233 35 15413 5,720.00
Tuesday, January 06, 2009 9867610233 25 21728 3,900.00

 

 

 

 

 

 

 

Tuesday, January 06, 2009 2857232333 25 5,000.00 14,620.00
Monday, February 02, 2009 9867610233 35 18566 8,400.00
Monday, February 02, 2009 2857232333 35 5,000.00
Wednesday, February 04, 2009 9867610233 30 1,050.00 14,450.00
Monday, February 09, 2009 9867610233 35 18586 5,000.00
Thursday, February 12, 2009 9867610233 30 1,100.00
Thursday, February 12, 2009 9867610233 25 7,900.00 14,000.00
Monday, February 23, 2009 9867610233 35 9,000.00
Tuesday, February 24, 2009 2857232333 27 5,500.00
Wednesday, February 25, 2009 9867610233 35 18566 7,500.00
Thursday, February 26, 2009 9867610233 35 14239 7,400.00 29,400.00
Monday, March 02, 2009 9867610233 35 6,400.00
Wednesday, March 04, 2009 9867610233 25 16858 6,100.00
Friday, March 06, 2009 9867610233 30 12987 1,025.00 13,525.00
Monday, March 09, 2009 9867610233 35 8,000.00
Wednesday, March 11, 2009 9867610233 35 5,400.00
Wednesday, March 11, 2009 9867610233 15 1,150.00
Thursday, March 12, 2009 9867610233 35 3,500.00 18,050.00
Friday, May 01, 2009 9867610233 25 21728 3,100.00
Sunday, May 03, 2009 9867610233 14308 7,800.00 10,900.00

 

Tuesday, May 26, 2009 9867610233 27 22791 7,900.00
Thursday, May 28, 2009 9867610233 25 20786 8,200.00

 

 

 

 

 

 

 

 

 

Monday, June 01, 2009 9867610233 39 15441 8,200.00 24,300.00
Monday, June 15, 2009 9867610233 25 6,100.00
Monday, June 15, 2009 2857232333 30 1,100.00
Thursday, June 18, 2009 2857232333 35 6,500.00 13,700.00
Monday, June 29, 2009 9867610233 35 7,200.00
Wednesday, July 01, 2009 9867610233 25 6,700.00 13,900.00
Monday, July 13, 2009 9867610233 35 14239 3,000.00
Monday, July 13, 2009 2857232333 35 4,000.00
Thursday, July 16, 2009 9867610233 35 14239 7,500.00 14,500.00
Monday, August 24, 2009 9867610233 39 7,800.00
Monday, August 24, 2009 2857232333 39 7,000.00 14,800.00
Thursday, September 03, 2009 9867610233 14 7,800.00
Friday, September 04, 2009 9867610233 30 1,100.00
Friday, September 04, 2009 2857232333 25 8,500.00 17,400.00
Thursday, September 17, 2009 9867610233 25 17963 8,500.00
Monday, September 21, 2009 2857232333 25 2,600.00 11,100.00
Thursday, October 29, 2009 9867610233 35 7,500.00
Monday, November 02, 2009 9867610233 35 2,298.00
Wednesday, November 04, 2009 9867610233 30 1,100.00
Wednesday, November 04, 2009 9867610233 15 1,100.00 11,998.00
Saturday, November 14, 2009 9867610233 35 18586 8,205.00
Tuesday, November 17, 2009 2857232333 27 30556 8,000.00 16,205.00
Monday, December 14, 2009 9867610233 35 7,999.47
Wednesday, December 16, 2009 9867610233 30 1,216.25
Friday, December 18, 2009 9867610233 35 6,000.00 15,215.72

 

Sunday, March 07, 2010 9867610233 30 21712 2,150.00
Tuesday, March 09, 2010 2857232333 35 11147 5,300.00

 

 
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Date Branch Teller 9867610233 2857232333 Structured Amt
Wednesday, March 10, 2010 9867610233 27 22185 7,000.00 14,450.00
Thursday, March 18, 2010 9867610233 39 18598 8,450.00
Friday, March 19, 2010 9867610233 39 12231 8,500.00
Sunday, March 21, 2010 2857232333 35 18586 6,000.00
Wednesday, March 24, 2010 9867610233 39 13606 9,000.00 31,950.00
Sunday, March 28, 2010 9867610233 35 24283 6,100.00
Monday, March 29, 2010 9867610233 30 12987 9,000.00

 

 

 

Tuesday, March 30, 2010 2857232333 27 14910 9,100.00
Wednesday, March 31, 2010 9867610233 15 21272 7,500.00 31,700.00
Saturday, April 03, 2010 2857232333 27 19917 5,900.00

Saturday, April 03, 2010 9867610233 27 19917 9,000.00
Tuesday, April 06, 2010 9867610233 15 21272 1,050.00
Wednesday, April 07, 2010 9867610233 30 10269 1,100.00 16,650.00
Tuesday, April 13, 2010 9867610233 35 22278 3,800.00
Friday, April 16, 2010 9867610233 25 24495 9,000.00

 

 

Saturday, April 17, 2010 2857232333 43 25375 7,000.00 19,800.00
Friday, April 23, 2010 9867610233 35 11147 6,100.00
Saturday, April 24, 2010 2857232333 27 22185 8,400.00 14,500.00

 

Sunday, May 02, 2010 9867610233 30 14303 8,300.00
Monday, May 03, 2010 9867610233 35 17598 1,100.00
Wednesday, May 05, 2010 9867610233 15 14305 1,050.00

 

 

 

 

 

 

Wednesday, May 05, 2010 2857232333 22 16631 6,300.00 16,750.00
Saturday, May 08, 2010 9867610233 35 14491 8,400.00
Sunday, May 09, 2010 2857232333 39 12231 8,300.00
Sunday, May 09, 2010 9867610233 15 16866 1,200.00 17,900.00
Saturday, May 15, 2010 9867610233 27 30487 8,000.00
Sunday, May 16, 2010 2857232333 35 14491 3,500.00
Monday, May 17, 2010 2857232333 25 24570 4,000.00
Wednesday, May 19, 2010 2857232333 15 21272 6,334.00
Wednesday, May 19, 2010 9867610233 22 31944 7,600.00 29,434.00
Tuesday, June 01, 2010 2857232333 30 7,000.00
Thursday, June 03, 2010 9867610233 30 14157 2,300.00
Monday, June 07, 2010 9867610233 24372 1,075.00
Monday, June 07, 2010 9867610233 14491 4,800.00
Thursday, June 10, 2010 9867610233 6,000.00 21,175.00
Monday, June 14, 2010 9867610233 28967 7,500.00
Monday, June 14, 2010 2857232333 39 22275 8,500.00 16,000.00
Sunday, June 20, 2010 9867610233 27 14910 8,000.00
Monday, June 21, 2010 2857232333 35 11147 8,000.00
Wednesday, June 23, 2010 9867610233 14305 7,563.00
Thursday, June 24, 2010 2857232333 22 16631 8,000.00
Friday, June 25, 2010 9684610233 27 19917 5,000.00 36,563.00
Thursday, July 29, 2010 9684610233 15 19953 7,000.00
Thursday, July 29, 2010 2857232333 15 4,500.00 11,500.00

 

 

 

387,501.72 158,934.00 546,435.72

9867610233 Joint Savings Account in the name of Dianna Shull and James Shull
2857232333 Checking Account - Dianna Shull sole owner
